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                                 IN THE UNITED STATES BANKRUPTCY COURT
                                      FOR THE DISTRICT OF DELAWARE


             In re:                                                        Chapter 11

             ZOHAR III, CORP., et al.,1                                    Case No. 18-10512 (KBO)

                            Debtors.                                       Jointly Administered


             LYNN TILTON, PATRIARCH PARTNERS
             VIII, LLC, PATRIARCH PARTNERS XIV,
             LLC, PATRIARCH PARTNERS XV, LLC,
             OCTALUNA, LLC; OCTALUNA II, LLC,
             AND OCTALUNA III, LLC,

                            Plaintiffs,

                                      v.                                   Adv. Pro. No. 19-50390

             MBIA INC., MBIA INSURANCE
             CORPORATION, U.S. BANK, N.A.,
             ALVAREZ & MARSAL ZOHAR
             MANAGEMENT, CREDIT VALUE
             PARTNERS, LP, BARDIN HILL
             INVESTMENT PARTNERS F/K/A
             HALCYON CAPITAL MANAGEMENT LP,
             COÖPERATIEVE RABOBANK U.A.,
             VÄRDE PARTNERS, INC., ASCENSION
             ALPHA FUND LLC, ASCENSION HEALTH
             MASTER PENSION TRUST, CAZ
             HALCYON OFFSHORE STRATEGIC
             OPPORTUNITIES FUND, L.P., BROWN
             UNIVERSITY, HCN LP, HALCYON
             EVERSOURCE CREDIT LLC, HLF LP,
             HLDR FUND I NUS LP, HLDR I TE LP,
             HLDR FUND I UST LP, HALCYON
             VALLÉE BLANCHE MASTER FUND LP,
             BARDIN HILL EVENT-DRIVEN MASTER
             FUND LP, PRAETOR FUND I, A SUB
             FUND OF PRAETORIUM FUND I ICAV,

         1
           The Debtors, and, where applicable, the last four digits of their taxpayer identification number are as follows: Zohar
         III, Corp. (9612), Zohar II 2005-1, Corp. (4059), Zohar CDO 2003-1, Corp. (3724), Zohar III, Limited (9261), Zohar
         II 2005-1, Limited (8297), and Zohar CDO 2003-1, Limited (5119). The Debtors’ address is c/o FTI Consulting, Inc.,
         1166 Avenue of the Americas, 15th Floor, New York, NY 10036.


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             HIRTLE CALLAGHAN TOTAL RETURN
             OFFSHORE FUND LIMITED, HIRTLE
             CALLAGHAN TOTAL RETURN
             OFFSHORE FUND II LIMITED, HIRTLE
             CALLAGHAN TRADING PARTNERS, L.P.,
             AND THIRD SERIES OF HDML FUND I
             LLC,

                              Defendants.


                  NOTICE OF SECOND AMENDED2 AGENDA OF MATTERS SCHEDULED
                        FOR HEARING ON MARCH 23, 2022 AT 10:00 A.M. (ET)


                         THIS HEARING WILL BE CONDUCTED ENTIRELY OVER ZOOM
                        AND REQUIRES ALL PARTICIPANTS TO REGISTER IN ADVANCE.
                                COURTCALL WILL NOT BE USED TO DIAL IN.

                                   Please use the following link to register for this hearing:
    https://debuscourts.zoomgov.com/meeting/register/vJIsduygqT4tG3HQ3TtPAVsmvDGye27msno

            AFTER REGISTERING YOUR APPEARANCE BY ZOOM, YOU WILL RECEIVE A
         CONFIRMATION EMAIL CONTAINING INFORMATION ABOUT JOINING THE HEARING


         RESOLVED MATTERS

         1.        Debtors' Fourth Motion, Pursuant to Section 105(a) and 363(b) of the Bankruptcy Code
                   and the FTI Retention Order, for Entry of an Order Approving Modified Schedule of
                   Hourly Temporary Staff [D.I. 3099; 2/22/22]

                   Related Documents:

                   A.        Certificate of No Objection [D.I. 3145; 3/9/22]

                   B.        Order Approving Modified Schedule of Hourly Temporary Staff [D.I. 3148;
                             3/10/22]

                   Response Deadline:                       March 8, 2022 at 4:00 p.m. (ET)

                   Responses Received:                      None

                   Status:          An order has been entered by the Court. No hearing is required.

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             All amendments appear in bold.



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         2.   Debtors' Motion for Entry of an Order Authorizing the Debtors to File Certain Information
              in the Debtors Amended and Supplemental Motion for Entry of an Order (A) Enforcing
              the Settlement Agreement and the Ankura Appointment Order Regarding Galey & Lord,
              LLC and for Related Relief (Docket No. 2611) and (B) Sanctioning Patriarch Under Seal
              [D.I. 3104; 2/23/22]

              Related Documents:

              A.        Debtors’ Amended and Supplemental Motion for Entry of an Order (A) Enforcing
                        the Settlement Agreement and the Ankura Appointment Order Regarding Galey &
                        Lord, LLC Docket No. 2611) and (B) Sanctioning Patriarch [(SEALED) D.I. 3022;
                        1/26/22; (REDACTED) D.I. 3100; 2/22/22]

              B.        Certificate of No Objection [D.I. 3149; 3/10/22]

              C.        Order Authorizing the Filing of Portions of the Debtors’ Amended and
                        Supplemental Motion for Entry of an Order (A) Enforcing the Settlement
                        Agreement and the Ankura Appointment Order Regarding Galey & Lord, LLC and
                        for Related Relief (Docket No. 2611) and (B) Sanctioning Patriarch Under Seal
                        [D.I. 3159; 3/14/22]

              Response Deadline:                     March 9, 2022 at 4:00 p.m. (ET)

              Responses Received:                    None

              Status:          An order has been entered by the Court. No hearing is required.

         3.   Debtors’ Application for an Order Authorizing the Employment and Retention of
              Reliable Companies as Voting Agent for the Debtors, Effective as of the Retention
              Effective Date [D.I. 3129; 3/2/22]

              Related Documents:

              A.        Certification of Counsel Regarding Proposed Order Authorizing the Employment
                        and Retention of Reliable Companies as Voting Agent for the Debtors, Effective
                        as of the Retention Effective Date [D.I. 3166; 3/17/22]

              B.        Order Authorizing the Employment and Retention of Reliable Companies as
                        Voting Agent for the Debtors, Effective as of the Retention Effective Date [D.I.
                        3172; 3/18/22]

              Response Deadline:                     March 16, 2022 at 4:00 p.m. (ET)

              Responses Received:



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              C.        Informal response from the U.S. Trustee

              Status:          An order has been entered by the Court. No hearing is required.

         4.   Debtors’ Motion for Entry of an Order, Pursuant to Bankruptcy Rules 9006 and 9027,
              Extending the Period Within Which the Debtors May Remove Actions Pursuant to 28
              U.S.C. § 1452 [D.I. 3144; 3/9/22]

              Related Documents:

              A.        Certificate of No Objection [D.I. 3167; 3/17/22]

              B.        Order, Pursuant to Bankruptcy Rules 9006 and 9027, Extending the Period Within
                        Which the Debtors May Remove Actions Pursuant to 28 U.S.C. § 1452 [D.I. 3173;
                        3/18/22]

              Response Deadline:                     March 16, 2022 at 4:00 p.m. (ET)

              Responses Received:                    None

              Status:          An order has been entered by the Court. No hearing is required.

         MATTER WITH CERTIFICATION

         5.   Motion of Patriarch for Entry of an Order Authorizing Filing of Objection Under Seal [D.I.
              3103; 2/22/22]

              Related Documents:

              A.        Patriarch's Objection to Debtors' Amended and Supplemental Motion for Entry of
                        an Order (A) Enforcing the Settlement Agreement and the Ankura Appointment
                        Order Regarding Galey & Lord, LLC and for Related Relief (Docket 2611) and (B)
                        Sanctioning Patriarch [(SEALED) D.I. 3074; 2/17/22; (REDACTED) D.I. 3102;
                        2/22/22]

              B.        Certificate of No Objection [D.I. 3184; 3/21/22]

              C.        Order Authorizing Filing of Patriarch’s Objection Under Seal [D.I. 3189; 3/21/22]

              Response Deadline:                     March 9, 2022 at 4:00 p.m. (ET)

              Responses Received:                    None

              Status:          An order has been entered by the Court. No hearing is required.




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         MATTER GOING FORWARD

         6.   Debtors' Motion for an Order (I) Approving the Disclosure Statement; (II) Approving
              Solicitation and Voting Procedures, Including (A) Fixing the Record Date, (B) Approving
              the Solicitation Packages and Procedures for Distribution, (C) Approving the Form of
              Ballots and Establishing Procedures for Voting, and (D) Approving Procedures for Vote
              Tabulation; (III) Scheduling a Confirmation Hearing and Establishing Notice and
              Objection Procedures; and (IV) Granting Related Relief [D.I. 3130; 3/2/22]

              Related Documents:

              A.     Joint Plan of Liquidation Under Chapter 11 of the Bankruptcy Code for Zohar III,
                     Corp. and Its Affiliated Debtors [D.I. 3042; 1/31/22]

              B.     Disclosure Statement for Joint Plan of Liquidation Under Chapter 11 of the
                     Bankruptcy Code for Zohar III, Corp. and Its Affiliated Debtors Dated January 31,
                     2022 [D.I. 3048; 2/3/22]

              C.     Notice of Hearing to Consider Approval of Disclosure Statement [D.I. 3055;
                     2/7/22]

              D.     First Amended Joint Plan of Liquidation Under Chapter 11 of the Bankruptcy Code
                     for Zohar III, Corp. and Its Affiliated Debtors [D.I. 3182; 3/21/22]

              E.     Notice of Filing of Blackline of First Amended Joint Plan of Liquidation Under
                     Chapter 11 of the Bankruptcy Code for Zohar III, Corp. and Its Affiliated Debtors
                     [D.I. 3183; 3/21/22]

              F.     Disclosure Statement for First Amended Joint Plan of Liquidation Under Chapter
                     11 of the Bankruptcy Code for Zohar III, Corp. and Its Affiliated Debtors [D.I.
                     3185; 3/21/22]

              G.     Notice of Filing of Blackline of Disclosure Statement for First Amended Joint Plan
                     of Liquidation Under Chapter 11 of the Bankruptcy Code for Zohar III, Corp. and
                     Its Affiliated Debtors [D.I. 3186; 3/21/22]

              H.     Notice of Filing of Resvied Proposed Order (I) Approving the Disclosure
                     Statement; (II) Approving Solicitation and Voting Procedures, Including (A) Fixing
                     the Record Date, (B) Approving the Solicitation Packages and Procedures for
                     Distribution, (C) Approving the Form of Ballots and Establishing Procedures for
                     Voting, and (D) Approving Procedures for Vote Tabulation; (III) Scheduling a
                     Confirmation Hearing and Establishing Notice and Objection Procedures; and (IV)
                     Granting Related Relief [D.I. 3187; 3/21/22]




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                  Response Deadline:                      March 16, 2022 at 4:00 p.m. (ET); Extended to
                                                          March 18, 2022 for U.S. Bank National
                                                          Association, in Its Capacity as Indenture Trustee

                  Responses Received:

                  I.        Patriarch Stakeholders’ Limited Objection to Debtors' Motion for an Order (I)
                            Approving the Disclosure Statement; (II) Approving Solicitation and Voting
                            Procedures, Including (A) Fixing the Record Date, (B) Approving the Solicitation
                            Packages and Procedures for Distribution, (C) Approving the Form of Ballots and
                            Establishing Procedures for Voting, and (D) Approving Procedures for Vote
                            Tabulation; (III) Scheduling a Confirmation Hearing and Establishing Notice and
                            Objection Procedures; and (IV) Granting Related Relief [D.I. 3138; 3/2/22]

                  J.        Response and Reservation of Rights of U.S. Bank National Association, in Its
                            Capacity as Indenture Trustee, to the Proposed Disclosure Statement for Joint Plan
                            of Liquidation Under Chapter 11 of the Bankruptcy Code for Zohar III, Corp. and
                            Its Affiliated Debtors Dated January 31, 2022 [D.I. 3171; 3/18/22]

                  K.        Informal response from Ankura Trust

                  L.        Informal response from the U.S. Trustee

                  Additional Documents:

                  M.        Disclosure Statement for First Amended Joint Plan of Liquidation Under
                            Chapter 11 of the Bankruptcy Code for Zohar III, Corp. and Its Affiliated
                            Debtors [D.I. 3195; 3/23/22]

                  N.        Notice of Filing of Blackline of Disclosure Statement for First Amended Joint
                            Plan of Liquidation Under Chapter 11 of the Bankruptcy Code for Zohar III,
                            Corp. and Its Affiliated Debtors [D.I. 3196; 3/23/22]

                  Status:          The Debtors believe that they have resolved, for purposes of the Disclosure
                                   Statement approval hearing, items K and L. Item J indicates that it is merely
                                   reserving rights with respect to plan confirmation, although the Debtors
                                   have attempted to address the issues raised by the Indenture Trustee (both
                                   in its filed objection and informally) through revisions to the Plan and
                                   Disclosure Statement. The Debtors are in discussion with Patriarch
                                   regarding potential resolutions to item I as it pertains to the Disclosure
                                   Statement approval hearing. This matter is going forward.

         STATUS CONFERENCE

             7.   Debtors' Motion for an Order Establishing a Schedule and Certain Protocols in Connection
                  with the Pending Equitable Subordination Proceeding, the Patriarch Administrative Claim,


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             and Confirmation of the Joint Plan of Liquidation Under Chapter 11 of the Bankruptcy
             Code for Zohar III, Corp. and Its Affiliated Debtors [D.I. 3059/Adv. Case No. 19-50390
             D.I. 174; 2/8/22]

             Related Documents:

             A.     Notice of Filing of Revised Proposed Order Establishing a Schedule and Certain
                    Protocols in Connection with the Pending Equitable Subordination Proceeding, the
                    Patriarch Administrative Claim, and Confirmation of the Joint Plan of Liquidation
                    Under Chapter 11 of the Bankruptcy Code for Zohar III, Corp. and Its Affiliated
                    Debtors [D.I. 3077; 2/17/22]

             B.     Order Granting Defendants MBIA Inc.’s and MBIA Insurance Corporations
                    Motion for Leave to File Late Reply [D.I. 3093/Adv. Case No. 19-50390 D.I. 197;
                    2/18/22]

                    Response Deadline:           February 15, 2022 at 4:00 p.m. (ET)

                    Responses Received:

             C.     Limited Objection and Reservation of Rights of U.S. Bank National Association to
                    the Debtors' Motion for an Order Establishing A Schedule and Certain Protocols in
                    Connection with the Pending Equitable Subordination Proceeding, the Patriarch
                    Administrative Claim, and Confirmation for the Joint Plan of Liquidation under
                    Chapter 11 of the Bankruptcy Code for Zohar III, Corp. and its Affiliated Debtors
                    [D.I. 3071/Adv. Case No 19-50390 D.I. 182; 2/15/22]

             D.     Patriarch Stakeholders' Objection to Debtors' Motion for an Order Establishing a
                    Schedule and Certain Protocols in Connection With the Pending Equitable
                    Subordination Proceeding, the Patriarch Administrative Claim, and Confirmation
                    of the Joint Plan of Liquidation under Chapter 11 of the Bankruptcy Code for Zohar
                    III, Corp. and its Affiliated Debtors [D.I. 3072/Adv. Case No. 19-50390 D.I. 183;
                    2/15/22]

             E.     Statement and Reservation of Rights of Alvarez & Marsal Zohar Management
                    Regarding Debtors' Motion for an Order Establishing a Schedule and Certain
                    Protocols in Connection with the Pending Equitable Subordination Proceeding, the
                    Patriarch Administrative Claim, and Confirmation of the Joint Plan of Liquidation
                    Under Chapter 11 of the Bankruptcy Code for Zohar III, Corp. and Its Affiliated
                    Debtors [Adv. Case No. 19-50390 D.I. 184; 2/15/22]

             F.     Statement of Defendants MBIA Inc. and MBIA Insurance Corporation in Reply to
                    the Patriarch Stakeholders' Objection to the Debtors' Motion for an Order
                    Establishing a Schedule and Certain Protocols in Connection with the Pending
                    Equitable Subordination Proceeding, the Patriarch Administrative Claim, and
                    Confirmation of the Joint Plan of Liquidation Under Chapter 11 of the Bankruptcy


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                            Code for Zohar III, Corp. and Its Affiliated Debtors [D.I. 3083/Adv. Case No. 19-
                            50390 D.I. 187; 2/17/22]

                  Status:          This matter is going forward as a status conference and for discussions on
                                   the confidential letters submitted to Chambers by MBIA, Zohar III and the
                                   Patriarch Stakeholders on March 10th and 11th with respect to Adv. Case
                                   No. 19-50390.


             Dated: March 23, 2022                 YOUNG CONAWAY STARGATT & TAYLOR, LLP
                    Wilmington, Delaware
                                                   /s/ Shane M. Reil
                                                   James L. Patton, Jr. (No. 2202)
                                                   Robert S. Brady (No. 2847)
                                                   Michael R. Nestor (No. 3526)
                                                   Joseph M. Barry (No. 4221)
                                                   Ryan M. Bartley (No. 4985)
                                                   Shane M. Reil (No. 6195)
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                                                   1000 North King Street
                                                   Wilmington, Delaware 19801
                                                   Telephone: (302) 571-6600
                                                   Facsimile: (302) 571-1253
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                                                   Counsel to the Debtors and Debtors in Possession




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